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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION




UNITED STATES OF AMERICA

v.                                               CASE NO. 4:13cr41-RH/CAS

ALTON EUGENE DIGGS,

                  Defendant.

_______________________________/


                            ORDER DENYING THE MOTION
                           TO RECONSIDER THE SENTENCE


         The defendant Alton Eugene Diggs has submitted a letter asking to reduce

his sentence. A request for relief can properly be made only by a motion in the

form required by Local Rule 5, not by a letter to the judge. But this order treats the

letter as a motion and considers it on the merits. The order denies the motion.

         Sentencing requires a careful analysis of all the factors listed in 18 U.S.C.

§ 3553(a). Even in the age of guidelines, this is an individualized process. One

cannot look just at the guideline range to determine the appropriate sentence.

         For Mr. Diggs, that is a good thing. Mr. Diggs received a sentence well

below the guideline range. If it was as easy as looking at the guideline range and



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the amount of drugs involved in an offense, Mr. Diggs’ sentence would have been

longer.

         But alas, Mr. Diggs still received a substantial sentence. He has moved to

reconsider the sentence, asserting that other codefendants were as culpable but

received lower sentences. In truth, of the scores if not hundreds of defendants in

this and other cases convicted before me of crimes like this, many have received

longer sentences, and many have received shorter sentences, based on variations in

the many factors that properly inform sentencing. It is an individualized process.

Mr. Diggs is neither the most nor the least culpable of the many defendants who

have been sentenced in this court for similar crimes.

         The sentences in this case resulted from hours of analysis and careful

consideration. To the best of my ability, I got it right. If an equally culpable

codefendant got a shorter sentence—something I do not believe occurred—it is at

least as likely that the other sentence was too short, not that Mr. Diggs’s sentence

was too long. Mr. Diggs has no well-founded complaint.

         Moreover, with narrow exceptions not applicable here, a district court

cannot change a sentence after it has been imposed. See 18 U.S.C. § 3582(c). If I

thought I got it wrong when I sentenced Mr. Diggs—I do not—I still would be

unable to change the sentence. Mr. Diggs can appeal, but he cannot receive a




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sentence reduction in this court unless he satisfies the narrow criteria of § 3582(c),

which, at least at this time, he does not.

         For these reasons,

         IT IS ORDERED:

         The clerk must docket Mr. Diggs’s letter as a motion to reconsider the

sentence. The motion is DENIED.

         SO ORDERED on January 28, 2014.

                                         s/Robert L. Hinkle
                                         United States District Judge




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